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                        IN THE UNITED STATES DISTRICT COURT                            OCT 2 0 2016
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                     RK, U.S. DISTRICT COURT
                                 RICHMOND DIVISION                                      RICHMOND VA



UNITED STATES OF AMERICA


v.                                                   CRIMINAL CASE NO. 3:16-CR-00029-003


ISSA QATRA WI,
                       Defendant.


                                             ORDER

        This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to the specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

        ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count ONE (I) of the Indictment.




                                                      Robert E. Payne
                                                                       Isl    /2£1
                                                      Senior United States District Judge
Date:    [:£~I'/, 'Ulb
Richmond, Virginia
